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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION
THE AMERICAN INSURANCE             §
COMPANY                            §
                                   §
v.                                 § CIVIL ACTION NO. 19-cv-2095
                                   §
LC LIQUIDATIONS CORPORATION,       §
INC. F/K/A LECTRUS CORPORATION, §          JURY DEMANDED
INC. and AXA CORPORATE
SOLUTIONS NIEDERLASSUNG
DEUTSCHLAND

                            PLAINTIFF’S ORIGINAL COMPLAINT
                        AND REQUEST FOR DECLARATORY JUDGMENT

          Plaintiff The American Insurance Company files its Original Complaint and Request for

Declaratory Judgment against Defendants LC Liquidations Corporation, Inc. F/K/A Lectrus

Corporation, Inc. and AXA Corporate Solutions Niederlassung Deutschland, and would

respectfully show the Court as follows:

                                   I. NATURE OF THE ACTION

1.1       American brings this claim for declaratory judgment to declare the legal relations and

rights of the parties under a contract of excess liability insurance, under Federal Rule of Civil

Procedure 57 and 28 U.S.C. §§ 2201, 2202.

1.2       American seeks a declaratory judgment that it owes no duty to indemnify its insured,

Lectrus Corporation, for amounts Lectrus may become legally obligated to pay AXA in an

underlying lawsuit currently pending by AXA against Lectrus which is styled, Cause No. 4:15-

CV-3606; AXA Corporate Solutions Niederlassung Deutschland v. Lectrus Corporation, In the

United States District Court for the Southern District of Texas, Houston Division1 (“the




1
    See generally Exhibit A.

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Underlying Suit”) under the terms of an excess/umbrella liability insurance policy American

issued to Lectrus.

1.3       American also seeks a declaratory judgment that the excess/umbrella policy does not

obligate it to defend Lectrus in the Underlying Suit unless and until the underlying insurance is

exhausted by payment of judgments or settlements.

                                               II. THE PARTIES

2.1       Plaintiff The American Insurance Company is a corporation organized under the laws of

the State of Ohio with its principal place of business in Illinois. American is an insurance

company that regularly does business in Texas.

2.2       Defendant LC Liquidations Corporation, Inc.                   F/K/A Lectrus Corporation, Inc.

(“Lectrus”) is a corporation organized under the laws of the state of Tennessee with its principal

place of business in Tennessee, which also maintains offices and conducts operations in Texas.

Lectrus is currently in bankruptcy and is amenable to service of process in Texas by serving its

registered agent, C.T. Corporation, 1999 Bryan Street, Suite 99, Dallas, Texas 75201. Plaintiff

has asked its counsel in the Underlying Suit to accept service.

2.3       Defendant AXA Corporate Solutions Niederlassung Deutschland is a foreign insurance

company organized under the laws of Germany with its principal place of business at

Suderstrasse 24, Hamburg, Hamburg 20097 Germany. AXA is amenable to service of process

under the Hague Convention on Service Abroad of Judicial and Extrajudicial Documents.2

Plaintiff has asked its counsel in the Underlying Suit to accept service.

                                       III. JURISDICTION AND VENUE

3.1       This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

§1332(a), based on the diversity of citizenship of the parties as described above. The Underlying
2
    Nov. 15, 1965 T.I.A.S No. 6638, 20 U.S.T. 361 (U.S. Treaty 1969).

                                                         2
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Suit alleges total damages exceeding $7 million3 and therefore facially establishes that the

amount in controversy exceeds $75,000, exclusive of interests and costs.

3.2       This Court has general personal jurisdiction over Defendants because Defendants

regularly conduct business in the state of Texas. At a minimum, the Court has specific personal

jurisdiction over AXA because AXA voluntarily availed itself of the federal courts in Texas to

pursue its claim against Lectrus in the Underlying Suit and is currently litigating against Lectrus

in Texas.

3.3       Venue is proper in this District under 28.U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to the claim occurred in Harris County, Texas, which is part

of this District. Specifically, the Underlying Suit against Lectrus, for which Lectrus seeks

coverage under the Policy, is pending in the Houston Division of the Southern District of Texas.

                                      IV. BACKGROUND FACTS
A.        The Policies
4.1       This declaratory judgment action arises from an excess/umbrella liability insurance

policy issued by American to Lectrus Corporation, and a suit by AXA against Lectrus for which

Lectrus Corporation sought coverage from American. American issued excess/umbrella liability

policy No. SUO-000-2408-4634 to Lectrus Corporation, effective from 6/30/11 to 6/30/12 (“the

Policy”).4 The Policy was issued and delivered to Lectrus Corporation in Tennessee, and state-

specific endorsements attached to the Policy show the parties intended it to be performed under

Tennessee law. American and Lectrus Corporation also expressly agreed in a separate signed

document (contemplating this very litigation) that interpretation of the Policy is governed by

Tennessee law.



3
    See Exhibit A at ¶ 19, 22.
4
    See Exhibit B.

                                                   3
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4.2       The Policy is excess to either one or two primary insurance policies issued by Travelers

(“the Travelers policies”), which each provides $1 million in primary CGL coverage.5 The two

Travelers policies, one domestic and one global, together provide a worldwide coverage

territory which includes international waters.

4.3       The Policy follows the form of the underlying insurance, and together they include the

following relevant terms:

                   SECTION I. EXCESS LIABILITY – COVERAGE A
                   A. COVERAGE A ‐ INSURING AGREEMENT
                      1. We will pay on behalf of any Insured those sums in excess of
                          Primary Insurance that any Insured becomes legally obligated to
                          pay as damages or a Covered Pollution Cost or Expense
                          provided that such damages and Covered Pollution Cost or
                          Expense:
                          a. Are covered by Primary Insurance;
                   ***
                   B. COVERAGE A ‐ WHEN WE WILL HAVE A DUTY TO DEFEND
                      1. We will have the right and duty to defend any Insured against
                          any Suit seeking damages or a Covered Pollution Cost or
                          Expense to which Coverage A applies but only:
                          a. After the applicable limits of insurance of Primary Insurance
                               and Other Insurance cease to apply because of exhaustion
                               by the payment of judgments or settlements, or because of
                               exhaustion by the payment of defense expenses by the
                               terms of that policy; and
                          b. If no Other Insurance affording a defense or indemnity
                               against such a Suit is available to any Insured.6


                   SECTION I COVERAGES
                   COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY
                   1. Insuring Agreement
                      ***
                      b. This insurance applies to "bodily injury" and "property damage"
                          only if:
                          (1) The "bodily injury" or "property damage" is caused by an
                              "occurrence”…




5
    See Exhibit C, D.
6
    See Exhibit B at AIC 26.

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                   ***
                   2. Exclusions
                      ***
                      j. Damage To Property
                          "Property damage" to:
                          ***
                          (6) That particular part of any property that must be restored,
                              repaired or replaced because "your work" was incorrectly
                              performed on it.
                          ***
                      k. Damage To Your Product
                          "Property damage" to "your product" arising out of it or any
                          part of it.7


                   13. "Occurrence" means an accident, including continuous or repeated
                       exposure to substantially the same general harmful conditions.
                   ***
                   21. "Your product":
                       a. Means:
                          (1) Any goods or products, other than real property,
                               manufactured, sold, handled, distributed or disposed of by:
                               (a) You;
                               (b) Others trading under your name; or
                               (c) A person or organization whose business or assets you
                                   have acquired; and
                          (2) Containers (other than vehicles), materials, parts or
                               equipment furnished in connection with such goods or
                               products.
                       b. Includes:
                          (1) Warranties or representations made at any time with
                               respect to the fitness, quality, durability, performance or
                               use of "your product"; and
                          (2) The providing of or failure to provide warnings or
                               instructions.
                       c. Does not include vending machines or other property rented to
                          or located for the use of others but not sold.
                       ***
                   28. "Your work":
                       a. Means:
                          (1) Work or operations performed by you or on your behalf;
                               and
                          (2) Materials, parts or equipment furnished in connection with
                               such work or operations.
                       b. Includes


7
    See Exhibit C at AIC 109, 113; Exhibit D at AIC 221, 224-25.

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                         (1) Warranties or representations made at any time with
                             respect to the fitness, quality, durability, performance or
                             use of "your work", and
                         (2) The providing of or failure to provide warnings or
                             instructions.8

The exclusions and related definitions cited above are identical across both Travelers policies.

By quoting portions of the relevant policies which currently appear to be of particular and

immediate interest to this coverage dispute, American does not waive its right to rely on any

other provisions of the Policy or the underlying insurance. American has attached the Policy and

the Travelers policies in their entirety as mandated by Tennessee law, which requires that a

contract be construed as a whole in a reasonable and logical manner.9

B.      The Underlying Suit against Lectrus
4.4     The Underlying Suit against Lectrus involves a water damage loss to three CO2 cabins

and one domestic gas cabin manufactured by Lectrus and sold to AXA’s insured, Siemens

Industry, Inc., which occurred during shipping from Houston, Texas to Ulsan, South Korea.

Lectrus’s scope of work included manufacturing the cabins, pre-installing electronic components

provided by Siemens into the cabins, and packing the cabins for shipment by sea from Houston

to Ulsan. AXA alleges that upon inspection in Ulsan, it was “discovered that the contents of the

cabin were damaged from heavy condensation that developed inside the cabin during the

shipment due to insufficient export packing.”10

4.5     Lectrus tendered the Underlying Suit to Travelers. Travelers, as the primary insurer and

the only insurer with a present duty to defend, is defending Lectrus in the Underlying Suit, and

the suit was unsuccessfully mediated in July 2017. Although American disputes coverage for the


8
   See Exhibit C at AIC 125, 127; Exhibit D at AIC 234-236.
9
   English v. Virginia Sur. Co., 268 S.W.2d 338, 340 (Tenn. 1954); Standard Fire Ins. Co. v. Chester O'Donley &
Associates, Inc., 972 S.W.2d 1, 7 (Tenn. Ct. App. 1998).
10
    See Exhibit A at ¶ 11.

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loss under the Policy as discussed herein, American nevertheless participated in the July 2017

mediation and made good faith offers in tandem with Travelers to settle the case, and has at all

times been willing to continue reasonable settlement discussions with AXA.

4.6      As quoted above, the Policy is an excess policy which does not obligate American to

defend Lectrus until the underlying primary insurance is exhausted by payment of judgments or

settlements. American’s putative duty to defend has not been triggered according to the policy

terms. However, on June 3, 2019, Travelers explicitly refused to fund an appeal recommended

by Lectrus’s defense counsel, and suggested in an email to American’s adjuster that American

should fund the appeal. American therefore seeks a declaration it has no right or duty to defend

Lectrus at this time because the underlying Travelers policy has not been exhausted by payment

of judgments or settlements.

                        V. CAUSE OF ACTION: DECLARATORY JUDGMENT

5.1      For the reasons stated above and herein, American seeks a declaratory judgment under 28

U.S.C. § 2201 that:

      a) American has no contractual right or duty under the Policy to defend Lectrus against the

         Underlying Suit until the Travelers domestic policy is exhausted by payment of

         judgments or settlements; and

      b) American has no contractual duty under the Policy to indemnify Lectrus with regard to

         any damages Lectrus may become legally obligated to pay as a result of the Underlying

         Suit.

5.2      No Right or Duty to Defend. As quoted above, the Policy is an excess umbrella policy

that gives American neither the right nor the duty to defend the insured until the underlying

primary insurance is exhausted by payment of judgments or settlements. It is undisputed that has



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not yet occurred, but Travelers nevertheless refused to fully fund the defense of Lectrus in June

2019 and suggested that American participate in funding certain aspects of the defense that were

recommended by Lectrus’s defense counsel.

5.3    o Duty to Indemnify: Coverage is barred by Exclusion J. The evidence developed in

the Underlying Suit demonstrates that the property damage that occurred was to the particular

part of property that must be restored, repaired or replaced because Lectrus’s work was

incorrectly performed on it and is therefore excluded. Lectrus manufactured the cabins, and its

work included installing the Siemens components and packing the completed cabins and the pre-

installed Siemens components for shipping. Lectrus subcontracted the packing and preparation

for shipping to Transaction Packing, Inc. The allegedly negligent packing resulted in property

damage to the cabins, including the installed Siemens components, which is the basis of the

Underlying Suit. Property damage to the cabins, including the Siemens components, caused by

the allegedly insufficient packing materials is therefore excluded by Exclusion J.

5.4    No Duty to Indemnify: Coverage is barred by Exclusion K. The definition of the

insured’s “product” expressly includes goods or products sold or handled by the insured, as well

as containers, materials, parts, or equipment furnished in connection with such goods or

products. This definition includes both the Siemens components which Lectrus pre-installed in

the cabins and the packing materials which Lectrus provided for shipment. Property damage to

the cabins, including the Siemens components, caused by the allegedly insufficient packing

materials is therefore excluded by Exclusion K.




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5.5     All the damages sought by AXA in the Underlying Suit are barred by at least one of the

above discussed policy terms. There is no covered aspect of the claim against Lectrus.

5.6     American is not seeking to recover its attorney fees incurred in conjunction with this

coverage action because Fifth Circuit precedent does not support awards of attorney fees under

the Federal Declaratory Judgment Act.11 Nor may a defendant in a declaratory judgment

proceeding manufacture a claim under either the Federal Declaratory Judgment Act or the Texas

Declaratory Judgment Act by recasting its affirmative defenses as a claim for declaratory relief

which is a mirror image of the Plaintiff’s existing claim for declaratory relief.12

                                                VI. P RAYER

6.1     FOR THESE REASONS, Plaintiff The American Insurance Company requests that, after

a trial on the merits, it recover the following:

        a. declaratory judgment under 28 U.S.C. § 2201 that:
             (1) American has no contractual right or duty under the Policy to defend Lectrus

                 against the Underlying Suit until the Travelers domestic policy is exhausted by

                 payment of judgments or settlements; and

             (2) American has no contractual duty under the Policy to indemnify Lectrus with

                 regard to any damages Lectrus may become legally obligated to pay as a result of

                 the Underlying Suit; and

        b. all other relief to which it may be justly entitled.


11
   See AG Acceptance Corp. v. Veigel, 564 F.3d 695 (5th Cir. 2009) (citing Utica Lloyd’s of Texas v. Mitchell, 138
F.3d 208 (5th Cir. 1998)).
12
   See, e.g., Sanijet Corp. v. Lexor Intern., Inc., CIV.A.3:06CV1258-B, 2008 WL 2201451, at *2 (N.D. Tex. May
15, 2008) (citing Pan-Islamic Corp. v. Exxon Corp., 632 F.2d 539, 546 (5th Cir. 1980) (holding declaratory
judgment counterclaims futile because they duplicated the issues already raised by existing claims).

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                                   Respectfully submitted,

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